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11                      UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA

13
14    UNITED UNION OF ROOFERS,                      Case No.: 2:25-cv-01396
      WATERPROOFERS & ALLIED
15    WORKERS LOCAL UNION NO. 8                     CLASS ACTION COMPLAINT FOR
16    WBPA FUND, Individually and on                VIOLATIONS OF THE FEDERAL
      Behalf of All Others Similarly Situated,      SECURITIES LAWS
17
18                           Plaintiff,
                                                    DEMAND FOR JURY TRIAL
19          vs.
20
      THE TRADE DESK, INC., JEFFREY
21    TERRY GREEN, and LAURA
22    SCHENKEIN,

23                           Defendants.
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 1         Plaintiff United Union of Roofers, Waterproofers & Allied Workers Local
 2   Union No. 8 WBPA Fund (“Plaintiff”), by and through its attorneys, alleges the
 3   following upon information and belief, except as to allegations concerning Plaintiff,
 4   which are alleged upon personal knowledge. Plaintiff’s information and belief are
 5   based upon, among other things, its counsel’s investigation, which includes, without
 6   limitation: (a) review and analysis of public filings made by The Trade Desk, Inc.
 7   (“Trade Desk” or the “Company”) with the U.S. Securities and Exchange
 8   Commission (the “SEC”); (b) review and analysis of press releases and other
 9   publications disseminated by Defendants (defined below) and other parties;
10   (c) review of news articles, shareholder communications, conference calls, and
11   postings on the Trade Desk website concerning the Company’s public statements;
12   and (d) review of other publicly available information concerning the Company and
13   the Individual Defendants (defined below).
14                              NATURE OF THE ACTION
15                This is a federal securities class action on behalf of all persons or
16   entities that purchased Trade Desk Class A common stock between May 9, 2024 and
17   February 12, 2025, inclusive (the “Class Period”) against Trade Desk and certain of
18   its officers (collectively “Defendants”) seeking to pursue remedies under the
19   Securities and Exchange Act of 1934, 15 U.S.C. §§ 78a, 78j(b), and 78t(a) (the
20   “Exchange Act”).
21                Trade Desk operates globally as a technology company, offering a self-
22   service, cloud-based, ad-buying platform that allows marketers to plan, manage,
23   optimize, and measure data-driven ad campaigns.
24                Leading up to the Class Period, Trade Desk launched Kokai on June 6,
25   2023, a generative artificial intelligence (“AI”) forecasting tool that enables users to
26   more effectively deploy advertising spending. In a press release announcing the
27   Kokai launch, Trade Desk described Kokai as a “co-pilot to the programmatic
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 1   marketer” that digests over 13 million advertising impressions every second, helping
 2   “advertisers buy the right ad impressions, at the right price, to reach the target
 3   audience at the best time.”
 4                 Immediately after the Kokai launch, Trade Desk began rolling out
 5   Kokai (“the Kokai Rollout”) as the Company began transitioning its clients to Kokai
 6   from the Company’s older ad-buying platform Solimar, among other things. Trade
 7   Desk touted the transition to investors as a seamless “switch over to the new”
 8   platform, and one “without the disruption that comes from yanking something out
 9   of the box and maybe having something totally hate it and just be angry.” Trade
10   Desk further claimed to expect “full adoption” of Kokai “over the course of 2024[.]”
11                 Despite the alleged simplicity of the Kokai Rollout, including with
12   respect to transitioning clients, CEO Green repeatedly expressed the importance of
13   Kokai to the Company’s business, describing it as the “largest platform overhaul in
14   our [C]ompany’s history.”
15                 Moreover, Kokai was held out to investors as an integral component of
16   the Company’s ability to gain share in “key growth markets[,]” including the
17   connected TV (“CTV”) market. Before the start of the Class Period, Defendants
18   affirmed prior estimates that, from the June 2023 launch, Kokai “would take about
19   a year to roll out in its entirety.”
20                 Throughout the Class Period, Defendants repeatedly touted the value
21   that the Kokai Rollout was providing to the Company’s clients, as well as Kokai’s
22   positive impact on Trade Desk’s revenue metrics. For example, after markets closed
23   on May 8, 2024, during an earnings call in connection with Trade Desk announcing
24   its financial results for the first quarter of 2024, CEO Green stated, “I believe our
25   revenue growth acceleration in the first quarter speaks to the innovation and value
26   that we are delivering to our clients with Kokai.”
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 1                Additionally, on August 8, 2024, during the earnings call discussing
 2   Trade Desk’s financial results for the second quarter of 2024, CEO Green touted the
 3   progress of the Kokai Rollout, stating, “I’ve been incredibly encouraged by the early
 4   results from Kokai[,]” while highlighting that the “campaigns that have moved from
 5   Solimar to Kokai in aggregate, incremental reach is up more than 70%.” That same
 6   day, CEO Green further stated, “I firmly believe that we have met the moment with
 7   Kokai.”
 8                These statements, among others, were materially false and/or
 9   misleading and failed to disclose material adverse facts about the Company’s
10   business, operations, and prospects to make the statements made, in light of the
11   circumstances under which they were made, not false and misleading. Specifically,
12   Defendants failed to disclose that: (1) Trade Desk was experiencing significant,
13   ongoing, self-inflicted execution challenges rolling out Kokai, including
14   transitioning clients to Kokai from the Company’s older platform Solimar; (2) such
15   execution challenges meaningfully delayed the Kokai Rollout; (3) Trade Desk’s
16   inability to effectively execute the Kokai Rollout negatively impacted the
17   Company’s business and operations, particularly revenue growth; and (4) as a result
18   of the above, Defendants’ positive statements about the Company’s business,
19   operations, and prospects were materially false and misleading and/or lacked a
20   reasonable basis at all relevant times.
21                The truth emerged after markets closed on February 12, 2025, when
22   Trade Desk issued a press release announcing its financial results for the fourth
23   quarter and full year of 2024. In the press release, Trade Desk reported fourth quarter
24   revenue of $741 million—below the Company’s previously issued guidance of
25   $756 million and analysts’ estimates of $759.8 million. Additionally, Trade Desk’s
26   revenue guidance of at least $575 million for the first quarter of 2025 missed analysts’
27   estimates of $581.5 million.
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 1                During the earnings call held that same day, CEO Green disclosed that
 2   Trade Desk has yet to reach full adoption of Kokai, as the Company is “maintaining
 3   2 systems, Solimar and Kokai. This slows us down.”
 4                Later, on that same call, in response to a Cannonball Research analyst
 5   expressing concern regarding “issues with Kokai rollout pace,” CEO Green simply
 6   stated, “you’re right, that Kokai rolled out slower than we anticipated.” However,
 7   while addressing that same analyst question, CEO Green later explained that “in
 8   some cases, the slower Kokai rollout was deliberate.”
 9                On this news, the price of Trade Desk Class A common stock dropped
10   $40.31 per share, or more than 32%, from a closing price of $122.23 per share on
11   February 12, 2025, to a closing price of $81.92 per share on February 13, 2025.
12                As a result of Defendants’ wrongful acts and omissions, and the
13   precipitous decline in market value of the Company’s Class A common stock when
14   the truth was disclosed, Plaintiff and other Class members have suffered significant
15   losses and damages.
16                            JURISDICTION AND VENUE
17                The claims asserted herein arise under Sections 10(b) and 20(a) of the
18   Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated
19   thereunder by the SEC (17 C.F.R. § 240.10b-5).
20                This Court has jurisdiction over the subject matter of this action
21   pursuant to 28 U.S.C. § 1331, Section 27 of the Exchange Act (15 U.S.C. § 78aa).
22                Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b),
23   Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)).            Substantial acts in
24   furtherance of the alleged fraud or the effects of the fraud have occurred in this
25   Judicial District. Many of the acts and omissions charged herein, including the
26   dissemination of materially false and misleading information to the investing public,
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 1   and the omission of material information, occurred in substantial part in this Judicial
 2   District, as Trade Desk is headquartered in this Judicial District.
 3                In connection with the acts, transactions, and conduct alleged herein,
 4   Defendants, directly and indirectly, used the means and instrumentalities of
 5   interstate commerce, including the U.S. Mail, interstate telephone communications,
 6   and the facilities of a national securities exchange.
 7                                         PARTIES
 8                Plaintiff United Union of Roofers, Waterproofers & Allied Workers
 9   Local Union No. 8 WBPA Fund is a public pension fund based in Long Island City,
10   New York that provides retirement benefits for active and retired police officers and
11   their beneficiaries. The fund oversees assets under management in excess of
12   $250 million on behalf of approximately 1,500 active and retired participants. As
13   set forth in the accompanying certification, incorporated by reference herein,
14   Plaintiff purchased Trade Desk Class A common stock during the Class Period and
15   suffered damages as a result of the federal securities laws violations and false and/or
16   misleading statements and/or material omissions alleged herein.
17                Defendant Trade Desk is incorporated under the laws of Nevada, with
18   its principal executive offices located in Ventura, California. The Company’s Class
19   A common stock trades on the Nasdaq Global Select Market (the “Nasdaq”) under
20   the ticker symbol “TTD.”
21                Defendant Jeffrey Terry Green (“CEO Green”) has served as the
22   Company’s Co-Founder, Chairman, President, and Chief Executive Officer
23   (“CEO”) at all relevant times.
24                Defendant Laura Schenkein (“CFO Schenkein”) served as the
25   Company’s Chief Financial Officer (“CFO”) at all relevant times.
26                Defendants CEO Green and CFO Schenkein (together, the “Individual
27   Defendants”), because of their positions with the Company, possessed the power and
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 1   authority to control the contents of the Company’s reports to the SEC, shareholder
 2   letters, press releases, and presentations to securities analysts, money and portfolio
 3   managers, and institutional investors, i.e., the market. The Individual Defendants
 4   were provided with copies of the Company’s reports and press releases alleged
 5   herein to be misleading prior to, or shortly after, their issuance and had the ability
 6   and opportunity to prevent their issuance or cause them to be corrected. Because of
 7   their positions and access to material non-public information available to them, the
 8   Individual Defendants knew that the adverse facts specified herein had not been
 9   disclosed to, and were being concealed from, the public, and that the positive
10   representations that were being made were then materially false and/or misleading.
11   The Individual Defendants are liable for the false statements pleaded herein.
12                The Company and the Individual Defendants are collectively referred
13   to herein as the “Defendants.”
14                           SUBSTANTIVE ALLEGATIONS
15                                       Background
16                Trade Desk is a global technology company, offering a self-service,
17   cloud-based, ad-buying platform that allows marketers to plan, manage, optimize,
18   and measure data-driven ad campaigns.
19                On June 6, 2023, Trade Desk issued a press release announcing the
20   launch of Kokai. Kokai is a generative AI forecasting tool that enables users to
21   better predict the benefit of advertising spending. Specifically, Kokai’s AI
22   capabilities include predictive clearing, which enables traders to bid at the optimal
23   level, scoring ad impressions based upon relevance to the advertiser, budget
24   optimization, and key performance indicator (“KPI”) scoring. In a press release
25   announcing the Kokai launch, Trade Desk touted Kokai as a “co-pilot to the
26   programmatic marketer” that digests over 13 million advertising impressions every
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 1   second, helping “advertisers buy the right ad impressions, at the right price, to reach
 2   the target audience at the best time.”
 3                Thereafter, Trade Desk began the Kokai Rollout, which included
 4   transitioning its clients to Kokai from the Company’s older ad-buying platform
 5   Solimar. Trade Desk described the transition as one where clients can simply
 6   “switch over to the new” platform. Moreover, the Company expected “full adoption”
 7   of Kokai “over the course of 2024[,]” “without the disruption that comes from
 8   yanking something out of the box and maybe having something totally hate it and
 9   just be angry.”
10                CEO Green repeatedly expressed the importance of Kokai to the
11   Company’s business, describing it as the “largest platform overhaul in our
12   [C]ompany’s history.”      CEO Green further highlighted Kokai as an integral
13   component of the Company’s ability to “continue to gain share, especially in key
14   growth markets such as CTV” (i.e., connected TV). In the months leading up to the
15   Class Period, Defendants affirmed prior estimates that, from the June 2023 launch,
16   Kokai “would take about a year to roll out in its entirety.”
17
18               Defendants’ Materially False and Misleading Statements
                             Issued During the Class Period
19
20                The Class Period begins on May 9, 2024. After the markets closed the
21   prior day on May 8, 2024, Trade Desk issued a press release announcing its financial
22   results for the first quarter of 2024, ended March 31, 2024. In the press release,
23   Trade Desk reported first quarter revenue of $491 million, representing growth of
24   28% year-over-year. Within the press release, CEO Green stated:
25                With the continued strong growth of [connected TV], the
26                growing ubiquity of UID2, new approaches to
                  authentication, greater deployment of first-party data and
27                retail data, and with significant AI advances in our Kokai
28                platform, we are better positioned than ever to deliver


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 1                premium value to advertisers and continue to gain market
                  share.
 2
 3                During the corresponding earnings call held that same day, CEO Green
 4   touted the success of the Kokai Rollout, stating, “I believe our revenue growth
 5   acceleration in the first quarter speaks to the innovation and value that we are
 6   delivering to our clients with Kokai.” CEO Green further highlighted how Kokai
 7   will allow its users to capitalize on advertising opportunities beyond the technology
 8   conglomerates, such as Facebook, Instagram, and Google, i.e., the “open Internet,”
 9   stating:
10                And the innovations in our Kokai platform will help our
11                clients take advantage of this revaluation and fully
                  leverage data-driven buying to fuel their own business
12                growth. As a result, I’ve never been more optimistic about
13                the future of the open Internet and our ability to gain more
                  than our fair share of the nearly $1 trillion advertising
14                [total addressable market].
15
16                On the same call, CFO Schenkein reiterated the role of Kokai in
17   propelling the Company’s growth, stating, “All of our progress in areas such as CTV,
18   Retail Media, Kokai and UID2 helped deliver another quarter of consistently strong
19   growth and profitability to start 2024.”
20                On August 8, 2024, after the markets closed, Trade Desk issued a press
21   release announcing its financial results for the second quarter of 2024, ended June
22   30, 2024, reporting second quarter revenue of $585 million and 26% revenue growth
23   year-over-year. In the press release, CEO Green emphasized that as Kokai continues
24   to roll out, the Company is “intuitively surfacing value for advertisers, integrating
25   data into every decision, advancing the full power of AI as a co-pilot, and enabling
26   advertisers to maximize the potential of their first party data.”
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  1                During the corresponding earnings call held that same day, CEO Green
  2   touted Kokai’s use case, stating:
  3                In order to help advertisers think about efficacy in new
  4                ways and to help them take advantage of the premium
                   open Internet where consumers are most leaned in, after
  5                years of development, we launched our most ambitious
  6                platform to date, Kokai. Kokai allows our clients to
                   deploy data about their most loyal customers and then use
  7                that data as a seed to grow and harvest the next generation
  8                of loyal customers.
  9                During that same call, regarding the Kokai Rollout, CEO Green further
 10   proclaimed, “I've been incredibly encouraged by the early results from Kokai[,]”
 11   while highlighting that the “campaigns that have moved from Solimar to Kokai in
 12   aggregate, incremental reach is up more than 70%[,]” and “[c]ost per acquisition has
 13   improved by about 27% as data elements per impression have gone up by about
 14   30%.” CEO Green further explained that “performance metrics have improved by
 15   about 25%, helping to unlock performance budgets on our platform for years to
 16   come.”
 17                Referencing his earlier remarks during the same call about “meeting
 18   with many [chief marketing officers]” (“CMOs”) from global brands who are
 19   “putting a premium on the efficacy of marketing,” CEO Green stated, “Given
 20   everything I said about what CMOs today are trying to accomplish and the pressures
 21   that they are under, I firmly believe that we have met the moment with Kokai.”
 22                On November 7, 2024, after the markets closed, Trade Desk issued a
 23   press release announcing its financial results for the third quarter of 2024, ended
 24   September 30, 2024, reporting third quarter revenue of $628 million and providing
 25   fourth quarter revenue guidance of $756 million. In the press release, CEO Green
 26   stated, “[T]he performance improvements that our clients are seeing with Kokai -
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  1   our largest platform upgrade to date - showcase the value of audience-driven, AI-
  2   enabled innovation.”
  3                During the accompanying earnings call held that same day, CEO Green
  4   once again assured investors that “[w]e are already seeing the results of Kokai
  5   performance today, but we’re just getting started.” CFO Schenkein further touted
  6   that “[k]ey investment initiatives, including performance advancements in our Kokai
  7   platform . . . are not only strengthening our foundation, but position us for durable
  8   growth in 2025 and beyond.”
  9                During the question-and-answer portion of the call, a RBC Capital
 10   analyst asked:
 11                [W]hat type of work does it take to help CMOs and the
 12                users understand the metrics coming out of Kokai but also
                   to kind of gain trust around them? I know that’s been a
 13                challenge in some other walled garden platforms, so
 14                people trusting the attribution data.
 15
                   In response, CEO Green stated:
 16
                   I really appreciate the question because I think this is one
 17                of the more nuanced ways that we have just so much
 18                opportunity in front of us. . . . But the state of
                   measurement is that walled gardens have essentially been
 19                grading their own homework for many, many years. And
 20                one of the things that they’ve done really well is convinced
                   people to use their own metrics and kept things quite
 21
                   simple. But at times, that’s been really difficult for some
 22                of the biggest brands in the world because they’ll be told
                   by a walled garden, we help you sell 101 toothbrushes,
 23
                   when the company actually only sold 100 toothbrushes
 24                total. . . .
 25
                   The above statements set forth in ¶¶ 29-39 were materially false and/or
 26
      misleading and failed to disclose material adverse facts about the Company’s
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      business, operations, and prospects to make the statements made, in light of the
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  1   circumstances under which they were made, not false and misleading. Specifically,
  2   Defendants failed to disclose that: (1) Trade Desk was experiencing significant,
  3   ongoing, self-inflicted execution challenges rolling out Kokai, particularly in
  4   transitioning clients to Kokai from the Company’s older platform Solimar; (2) such
  5   execution challenges meaningfully delayed the Kokai Rollout; (3) Trade Desk’s
  6   inability to effectively execute the Kokai Rollout negatively impacted the
  7   Company’s business and operations, including revenue growth, and (4) as a result
  8   of the above, Defendants’ positive statements about the Company’s business,
  9   operations, and prospects were materially false and misleading and/or lacked a
 10   reasonable basis at all relevant times.
 11                                   The Truth Emerges
 12                The truth regarding the Kokai Rollout execution challenges that Trade
 13   Desk had been facing emerged after markets closed on February 12, 2025.
 14   Specifically, Trade Desk issued a press release announcing its financial results for
 15   the fourth quarter and full year of 2024, ended December 31, 2024. In the press
 16   release, Trade Desk reported fourth quarter revenue of $741 million—below the
 17   Company’s previously issued guidance of $756 million and analysts’ estimates of
 18   $759.8 million. Additionally, Trade Desk provided revenue guidance of at least
 19   $575 million for the first quarter of 2025, missing analysts’ estimates of $581.5
 20   million.
 21                In the press release, CEO Green stated, “[W]e are disappointed that we
 22   fell short of our own expectation in the fourth quarter.” Moreover, CEO Green
 23   explained that the Company “undertook a reorganization to accelerate opportunities
 24   across CTV, retail media, identity, supply chain optimization, and audio[,] while
 25   forging ahead with innovations like Kokai. . . .”
 26                During the corresponding earnings call held that same day, CEO Green
 27   disclosed that Trade Desk has yet to onboard all of its clients onto Kokai, stating,
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  1   “[W]e’ll move 100% of our clients to Kokai this year. Now the majority already
  2   have. But today, we’re maintaining 2 systems, Solimar and Kokai. This slows us
  3   down. Kokai is more effective in almost every way.”
  4                During that same call, in response to a Cannonball Research analyst
  5   expressing concern regarding “issues with Kokai rollout pace,” CEO Green plainly
  6   stated, “you’re right, that Kokai rolled out slower than we anticipated.” However,
  7   while addressing that same analyst question, CEO Green later explained that “in
  8   some cases, the slower Kokai rollout was deliberate.”
  9                Analysts swiftly reacted to the disappointing pace of the Kokai Rollout.
 10   For example, in a report titled “Debacle Leads To Doghouse,” Wedbush Securities
 11   analysts cut their price targets and reported:
 12                Management attributed the miss in 4Q to a series of
 13                several, small execution mistakes (including a delayed
                   rollout of the company’s Kokai platform) while 1Q
 14                guidance signals management has decided to more
 15                aggressively invest in strategic initiatives this year.
 16
                   Additionally, in a report titled “Too Many Turnovers, On To The Next,”
 17
      Cantor Fitzgerald analysts also cut their price targets and noted that “slower rollout
 18
      of Kokai (missed 50% EOY adoption goal) also weighed on 4Q revs.”
 19
                   Moreover, William Blair analysts published a report in response to the
 20
      disclosure, homing in on the fact that “the company is maintaining two systems:
 21
      Kokai and Solimar. While the majority of clients are already exclusively using
 22
      Kokai, select clients are still utilizing Solimar but plan to shift by the end of 2025.”
 23
                   On this news, the price of Trade Desk Class A common stock dropped
 24
      $40.31 per share, or more than 32%, from a closing price of $122.23 per share on
 25
      February 12, 2025, to a closing price of $81.92 per share on February 13, 2025.
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  1                           CLASS ACTION ALLEGATIONS
  2                Plaintiff brings this action as a class action pursuant to Rule 23(a) and
  3   (b)(3) of the Federal Rules of Civil Procedure on behalf of a class, consisting of all
  4   persons and entities that purchased Trade Desk Class A common stock between May
  5   9, 2024 and February 12, 2025, inclusive, and who were damaged thereby (the
  6   “Class”). Excluded from the Class are Defendants, the officers and directors of the
  7   Company, at all relevant times, members of their immediate families and their legal
  8   representatives, heirs, successors, or assigns, and any entity in which Defendants
  9   have or had a controlling interest.
 10                The members of the Class are so numerous that joinder of all members
 11   is impracticable. While the exact number of Class members is unknown to Plaintiff
 12   at this time and can only be ascertained through appropriate discovery, Plaintiff
 13   believes that there are at least hundreds or thousands of members in the proposed
 14   Class. Throughout the Class Period, the Class A common stock of Trade Desk
 15   actively traded on the Nasdaq (an open and efficient market) under the ticker symbol
 16   “TTD.” Millions of Trade Desk shares were traded publicly during the Class Period
 17   on the Nasdaq. As of September 26, 2024, Trade Desk had more than 449 million
 18   shares of Class A common stock outstanding. Record owners and other members of
 19   the Class may be identified from records maintained by Trade Desk or its transfer
 20   agent and may be notified of the pendency of this action by mail, using the form of
 21   notice similar to that customarily used in securities class actions.
 22                Plaintiff’s claims are typical of the claims of the other members of the
 23   Class as all members of the Class were similarly affected by Defendants’ wrongful
 24   conduct in violation of federal law that is complained of herein.
 25                Plaintiff will fairly and adequately protect the interests of the members
 26   of the Class and has retained counsel competent and experienced in class and
 27   securities litigation. Plaintiff has no interests that conflict with those of the Class.
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  1                Common questions of law and fact exist as to all members of the Class
  2   and predominate over any questions solely affecting individual members of the Class.
  3   Among the questions of law and fact common to the Class are:
  4                a.    whether Defendants violated the Exchange Act by the acts and
  5   omissions as alleged herein;
  6                b.    whether Defendants knew or recklessly disregarded that their
  7   statements and/or omissions were false and misleading;
  8                c.    whether documents, press releases, and other statements
  9   disseminated to the investing public and the Company’s shareholders during the
 10   Class Period misrepresented material facts about the business, operations, and
 11   prospects of Trade Desk;
 12                d.    whether statements made by Defendants to the investing public
 13   during the Class Period misrepresented and/or omitted to disclose material facts
 14   about the business, operations, and prospects of Trade Desk;
 15                e.    whether the market price of Trade Desk Class A common stock
 16   during the Class Period was artificially inflated due to the material
 17   misrepresentations and failures to correct the material misrepresentations
 18   complained of herein; and
 19                f.    the extent to which the members of the Class have sustained
 20   damages and the proper measure of damages.
 21                A class action is superior to all other available methods for the fair and
 22   efficient adjudication of this controversy because joinder of all members is
 23   impracticable. Furthermore, as the damages suffered by individual Class members
 24   may be relatively small, the expense and burden of individual litigation make it
 25   impossible for members of the Class to individually redress the wrongs done to them.
 26   There will be no difficulty in the management of this suit as a class action.
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  1                    UNDISCLOSED ADVERSE INFORMATION
  2                The market for Trade Desk Class A common stock was an open, well-
  3   developed, and efficient market at all relevant times. As a result of the materially
  4   false and/or misleading statements and/or omissions particularized in this Complaint,
  5   the Company’s Class A common stock traded at artificially inflated prices during
  6   the Class Period. Plaintiff and the other members of the Class purchased the
  7   Company’s Class A common stock relying upon the integrity of the market price of
  8   the Company’s Class A common stock and market information relating to Trade
  9   Desk and have been damaged thereby.
 10                During the Class Period, Defendants materially misled the investing
 11   public, thereby inflating the price of the Company’s Class A common stock, by
 12   publicly issuing false and/or misleading statements and/or omitting to disclose
 13   material facts necessary to make Defendants’ statements, as set forth herein, not false
 14   and/or misleading. The statements and omissions were materially false and/or
 15   misleading because they failed to disclose material adverse information and/or
 16   misrepresented the truth about the Company’s business, operations, and prospects
 17   as alleged herein. These material misstatements and/or omissions had the cause and
 18   effect of creating in the market an unrealistically positive assessment of the
 19   Company and its business, thus causing the Company’s Class A common stock
 20   shares to be overvalued and artificially inflated or maintained at all relevant times.
 21   Defendants’ materially false and/or misleading statements during the Class Period
 22   directly or proximately caused or were a substantial contributing cause of the
 23   damages sustained by Plaintiff and other members of the Class who purchased the
 24   Company’s Class A common stock at artificially inflated prices and were harmed
 25   when the truth was revealed.
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  1                             SCIENTER ALLEGATIONS
  2                As alleged herein, Defendants acted with scienter in that Defendants
  3   knew or were reckless as to whether the public documents and statements issued or
  4   disseminated in the name of the Company during the Class Period were materially
  5   false and misleading; knew or were reckless as to whether such statements or
  6   documents would be issued or disseminated to the investing public, and knowingly
  7   and substantially participated or acquiesced in the issuance or dissemination of such
  8   statements or documents as primary violations of the federal securities laws.
  9                As set forth herein, the Individual Defendants, by virtue of their receipt
 10   of information reflecting the true facts regarding Trade Desk, their control over,
 11   receipt, and/or modification of the Company’s allegedly materially misleading
 12   statements and omissions, and/or their positions with the Company that made them
 13   privy to confidential information concerning Trade Desk, participated in the
 14   fraudulent scheme alleged herein.
 15              INAPPLICABILITY OF STATUTORY SAFE HARBOR
 16                The federal statutory safe harbor provided for forward-looking
 17   statements under certain circumstances does not apply to any of the allegedly false
 18   statements pleaded in this Complaint. The statements alleged to be false and
 19   misleading herein all relate to then-existing facts and conditions. In addition, to the
 20   extent certain of the statements alleged to be false may be characterized as forward-
 21   looking, they were not identified as “forward-looking statements” when made, and
 22   there were no meaningful cautionary statements identifying important factors that
 23   could cause actual results to differ materially from those in the purportedly forward-
 24   looking statements.
 25                In the alternative, to the extent that the statutory safe harbor is
 26   determined to apply to any forward-looking statements pleaded herein, Defendants
 27   are liable for those false forward-looking statements because at the time each of
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  1   those forward-looking statements was made, the speaker had actual knowledge that
  2   the forward-looking statement was materially false or misleading, and/or the
  3   forward-looking statement was authorized or approved by an executive officer of
  4   Trade Desk who knew that the statement was false when made.
  5                                  LOSS CAUSATION
  6                Defendants’ wrongful conduct, as alleged herein, directly and
  7   proximately caused the economic loss, i.e., damages, suffered by Plaintiff and the
  8   Class.
  9                During the Class Period, as detailed herein, Defendants made
 10   materially false and misleading statements and omissions and engaged in a scheme
 11   to deceive the market. This artificially inflated the prices of the Company’s Class A
 12   common stock and operated as a fraud or deceit on the Class. When Defendants’
 13   prior misrepresentations, information alleged to have been concealed, fraudulent
 14   conduct, and/or the effect thereof were disclosed to the market, the price of the
 15   Company’s stock fell precipitously, as the prior artificial inflation came out of the
 16   price.
 17              APPLICABILITY OF PRESUMPTION OF RELIANCE
 18                  (FRAUD-ON-THE-MARKET DOCTRINE)

 19                The market for Trade Desk Class A common stock was open, well-
 20   developed, and efficient at all relevant times. As a result of the materially false
 21   and/or misleading statements and/or failures to disclose particularized in this
 22   Complaint, Trade Desk Class A common stock traded at artificially inflated and/or
 23   maintained prices during the Class Period. Plaintiff and other members of the Class
 24   purchased the Company’s Class A common stock relying upon the integrity of the
 25   market price of Trade Desk Class A common stock and market information relating
 26   to Trade Desk and have been damaged thereby.
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  1                  At all times relevant, the market for Trade Desk Class A common stock
  2   was an efficient market for the following reasons, among others:
  3                  a.    Trade Desk was listed and actively traded on Nasdaq, a highly
  4   efficient and automated market;
  5                  b.    As a regulated issuer, Trade Desk filed periodic public reports
  6   with the SEC and/or the Nasdaq;
  7                  c.    Trade Desk regularly communicated with public investors via
  8   established market communication mechanisms, including through regular
  9   dissemination of press releases on the national circuits of major newswire services
 10   and through other wide-ranging public disclosures, such as communications with the
 11   financial press and other similar reporting services; and/or
 12                  d.    Trade Desk was followed by securities analysts employed by
 13   brokerage firms who wrote reports about the Company, and these reports were
 14   distributed to the sales force and certain customers of their respective brokerage
 15   firms.     Each of these reports was publicly available and entered the public
 16   marketplace.
 17                   As a result of the foregoing, the market for Trade Desk Class A
 18   common stock promptly digested current information regarding Trade Desk from all
 19   publicly available sources and reflected such information in the Company’s stock
 20   price. Under these circumstances, all purchasers of Trade Desk Class A common
 21   stock during the Class Period suffered similar injury through their purchase and/or
 22   acquisition of stock at artificially inflated prices, and a presumption of reliance
 23   applies.
 24                  A Class-wide presumption of reliance is also appropriate in this action
 25   under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States,
 26   406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded in
 27   Defendants’ material misstatements and/or omissions. Because this action involves
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  1   Defendants’ failure to disclose material adverse information regarding the
  2   Company’s business, operations, and prospects—information that Defendants were
  3   obligated to disclose during the Class Period but did not—positive proof of reliance
  4   is not a prerequisite to recovery. All that is necessary is that the facts withheld be
  5   material in the sense that a reasonable investor might have considered them
  6   important in the making of investment decisions. Given the importance of the Class
  7   Period material misstatements and omissions set forth above, that requirement is
  8   satisfied here.
  9                          COUNTS AGAINST DEFENDANTS

 10                                      COUNT I
            For Violations of Section 10(b) of the Exchange Act and Rule 10b-5
 11                 Promulgated Thereunder Against All Defendants
 12                Plaintiff repeats and realleges each and every allegation contained
 13   above as if fully set forth herein.
 14                During the Class Period, Defendants carried out a plan, scheme, and
 15   course of conduct that was intended to and, throughout the Class Period, did:
 16   (i) deceive the investing public, including Plaintiff and other Class members, as
 17   alleged herein; (ii) artificially inflate and maintain the market price of Trade Desk
 18   Class A common stock; and (iii) cause Plaintiff and other members of the Class to
 19   purchase Trade Desk Class A common stock at artificially inflated prices. In
 20   furtherance of this unlawful scheme, plan, and course of conduct, Defendants, and
 21   each of them, took the actions set forth herein.
 22                Defendants: (i) employed devices, schemes, and artifices to defraud;
 23   (ii) made untrue statements of material fact and/or omitted to state material facts
 24   necessary to make the statements not misleading; and (iii) engaged in acts, practices,
 25   and a course of conduct that operated as a fraud and deceit upon the purchasers of
 26   the Company’s Class A common stock in an effort to maintain artificially high
 27   market prices for Trade Desk Class A common stock in violation of Section 10(b)
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  1   of the Exchange Act and Rule 10b-5 promulgated thereunder. All Defendants are
  2   sued either as primary participants in the wrongful and illegal conduct charged
  3   herein or as controlling persons as alleged below.
  4                Defendants, individually and in concert, directly and indirectly, by the
  5   use, means, or instrumentalities of interstate commerce and/or the mails, engaged
  6   and participated in a continuous course of conduct to conceal adverse material
  7   information about the Company’s business, operations, and prospects, as specified
  8   herein. Defendants employed devices, schemes, and artifices to defraud, while in
  9   possession of material adverse non-public information and engaged in acts, practices,
 10   and a course of conduct as alleged herein in an effort to assure investors of the
 11   Company’s business, operations, and prospects, which included the making of, or
 12   the participation in the making of, untrue statements of material facts and/or omitting
 13   to state material facts necessary in order to make the statements made about Trade
 14   Desk and its business, operations, and future prospects in light of the circumstances
 15   under which they were made, not misleading, as set forth more particularly herein,
 16   and engaged in transactions, practices, and a course of conduct of business that
 17   operated as a fraud and deceit upon the purchasers of the Company’s Class A
 18   common stock during the Class Period.
 19                Each of the Individual Defendants’ primary liability and controlling-
 20   person liability, arises from the following facts: (i) each of the Individual Defendants
 21   was a high-level executive and/or director at the Company during the Class Period
 22   and a member of the Company’s management team or had control thereof; (ii) each
 23   of the Individual Defendants, by virtue of his responsibilities and activities as a
 24   senior officer and/or director of the Company, was privy to and participated in the
 25   creation, development, and reporting of the Company’s business, operations, and
 26   prospects; (iii) each of the Individual Defendants enjoyed significant personal
 27   contact and familiarity with the other Defendants and was advised of and had access
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  1   to, other members of the Company’s management team, internal reports, and other
  2   data and information about the Company’s financial condition and performance at
  3   all relevant times; and (iv) each of the Individual Defendants was aware of the
  4   Company’s dissemination of information to the investing public, which they knew
  5   and/or recklessly disregarded was materially false and misleading.
  6                Defendants had actual knowledge of the misrepresentations and/or
  7   omissions of material facts set forth herein or acted with reckless disregard for the
  8   truth in that they failed to ascertain and to disclose such facts, even though such facts
  9   were available to them.      Such Defendants’ material misrepresentations and/or
 10   omissions were done knowingly or recklessly and for the purpose and effect of
 11   concealing the Company’s operating condition, business practices, and prospects
 12   from the investing public and supporting the artificially inflated and/or maintained
 13   price of its Class A common stock. As demonstrated by Defendants’ overstatements
 14   and misstatements of the Company’s business, operations, and prospects throughout
 15   the Class Period, Defendants, if they did not have actual knowledge of the
 16   misrepresentations and/or omissions alleged, were reckless in failing to obtain such
 17   knowledge by deliberately refraining from taking those steps necessary to discover
 18   whether those statements were false or misleading.
 19                As a result of the dissemination of the materially false and/or
 20   misleading information and/or failure to disclose material facts, as set forth above,
 21   the market price of Trade Desk Class A common stock was artificially inflated, and
 22   relying directly or indirectly on the false and misleading statements made by
 23   Defendants or upon the integrity of the market in which the shares and stock traded
 24   or trades, and/or in the absence of material adverse information that was known or
 25   recklessly disregarded by Defendants, but not disclosed in public statements by
 26   Defendants during the Class Period, Plaintiff and the other members of the Class
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  1   purchased Trade Desk Class A common stock during the Class Period at artificially
  2   inflated prices and were damaged thereby.
  3                At the time of said misrepresentations and omissions, Plaintiff and
  4   other members of the Class were ignorant of their falsity and believed them to be
  5   true. Had Plaintiff, the other members of the Class, and the marketplace known of
  6   the truth regarding the problems that Trade Desk was experiencing, which were not
  7   disclosed by Defendants, Plaintiff and other members of the Class would not have
  8   purchased Trade Desk Class A common stock, or, if they had purchased such shares
  9   or stock during the Class Period, they would not have done so at the artificially
 10   inflated prices that they paid.
 11                By virtue of the foregoing, Trade Desk and the Individual Defendants
 12   each violated § 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.
 13                As a direct and proximate result of Defendants’ wrongful conduct,
 14   Plaintiff and the other members of the Class suffered damages in connection with
 15   their purchases of the Company’s Class A common stock during the Class Period.
 16                                       COUNT II
                    For Violations of Section 20(a) of the Exchange Act
 17
                              Against the Individual Defendants
 18                Plaintiff repeats and re-alleges each and every allegation contained
 19   above as if fully set forth herein.
 20                The Individual Defendants acted as controlling persons of Trade Desk
 21   within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue
 22   of their high-level positions with the Company, participation in, and/or awareness of
 23   the Company’s operations, and intimate knowledge of the false statements filed by
 24   the Company with the SEC and disseminated to the investing public, the Individual
 25   Defendants had the power to influence and control and did influence and control,
 26   directly or indirectly, the decision-making of the Company, including the content
 27   and dissemination of the various statements that Plaintiff contends are false and
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  1   misleading. Each of the Individual Defendants was provided with or had unlimited
  2   access to copies of the Company’s reports, press releases, public filings, and other
  3   statements alleged by Plaintiff to be misleading prior to and/or shortly after these
  4   statements were issued and had the ability to prevent the issuance of the statements
  5   or cause the statements to be corrected.
  6                In particular, the Individual Defendants had direct and supervisory
  7   involvement in the day-to-day operations of the Company and, therefore, had the
  8   power to control or influence the particular transactions giving rise to the securities
  9   violations as alleged herein, and exercised the same.
 10                As set forth above, Trade Desk and the Individual Defendants each
 11   violated § 10(b) and Rule 10b-5 by their acts and omissions as alleged in this
 12   Complaint.    By virtue of their position as controlling persons, the Individual
 13   Defendants are liable pursuant to § 20(a) of the Exchange Act. As a direct and
 14   proximate result of these Defendants’ wrongful conduct, Plaintiff and other
 15   members of the Class suffered damages in connection with their purchases of the
 16   Company’s Class A common stock during the Class Period.
 17                                  PRAYER FOR RELIEF
 18                WHEREFORE, Plaintiff, individually and on behalf of the Class, prays
 19   for relief and judgment as follows:
 20         a)     Declaring this action to be a class action pursuant to Rule 23(a) and
 21                (b)(3) of the Federal Rules of Civil Procedure on behalf of the Class
 22                defined herein;
 23         b)     Awarding Plaintiff and the other members of the Class damages in an
 24                amount that may be proven at trial, together with interest thereon;
 25         c)     Awarding Plaintiff and the members of the Class pre-judgment and
 26                post-judgment interest, as well as their reasonable attorneys’ and
 27                experts’ witness fees and other costs; and
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  1         d)    Awarding such other relief as this Court deems appropriate.
  2                                   JURY DEMAND
  3               Plaintiff demands a trial by jury.
  4
  5   Dated: February 19, 2025              Respectfully submitted,
  6                                         BIENERT KATZMAN
                                            LITTRELL WILLIAMS LLP
  7                                         /s/ John Littrell
  8
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  9                                         Michael R. Williams (SBN 192222)
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 21
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 25                                         mduenas@saxenawhite.com
 26                                         Counsel for Plaintiff United Union of
                                            Roofers, Waterproofers & Allied Workers
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 28


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        I declare under penalty of perjury that the foregoing is true and correct.


               19th day of February, 2025.
 Executed this __


                                                      United Union of Roofers, Waterproofers &
                                                      Allied Workers Local Union No. 8 WBPA
                                                      Fund
                                                        Nick SictliaMo
                                                      Nick Siciliano (Feb 19, 2025 11:46 EST)
                                                      Nick Siciliano, Business Manager




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